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                                                           Wednesday, 05 October, 2022 01:42:14 PM
                                                                       Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

DWIGHT LONG,                                )
                       Plaintiff,           )
                                            )
              v.                            )            19-CV-3195
                                            )
TERRY MARTIN,                               )
                       Defendant.           )


                                        ORDER


       On September 27, 2022, the court granted Plaintiff’s Motion to Reopen Discovery

(#80) and directed the parties to file a joint discovery schedule. The parties complied,

(#81). This Order follows.

       IT IS ORDERED:

   1. Written discovery, pursuant to Federal Rules of Civil Procedure 34 and within

       the parameters of the court’s order reopening discovery for a limited purpose,

       shall be served on opposing parties on or before October 31, 2022.

   2. Supplemental disclosures shall be served on opposing parties on or before

       November 14, 2022.

   3. Expert witnesses, if any, shall be disclosed, along with a written report prepared

       and signed by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2),

       as follows:

          a. Plaintiff’s expert(s): November 15, 2022.

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      b. Defendant’s expert(s): December 16, 2022.

4. Discovery shall close on February 1, 2023. Any written discovery shall be served

   by a date that allows the served party a full thirty days in which to respond.

5. All dispositive motions shall be filed by February 15, 2023. Dispositive motions

   filed after this date will not be considered by the court. The Local Rules govern

   responses and replies to dispositive motions.

6. A proposed pretrial order in accordance with Local Rule 16.1(E)(4) and Local

   Rules Appendix 2 shall be filed by February 27, 2023, along with all pretrial

   motions. Responses to pretrial motions are due March 13, 2023.

7. A Final Pretrial Conference remains set for March 27, 2023, at 11:30 a.m. by

   video.

8. Jury selection and jury trial remain scheduled for April 11, 2023, in Courtroom A

   in Urbana.

      ENTERED this 5th day of October, 2022.

                               s/Colin S. Bruce
                           COLIN STIRLING BRUCE
                            U.S. DISTRICT JUDGE




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